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     Attorney for Defendant
 5
     ELO WADLEY
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                         Case No.: 2:17-CR-023 TLN
12
                    Plaintiff,
13
     vs.                                               STIPULATION AND ORDER
14                                                     CONTINUING STATUS CONFERENCE
     CURTIS PHILLIPS, CHARLES RAY                      AND EXCLUDING TIME UNDER THE
15                                                     SPEEDY TRIAL ACT
     GOODMAN, DEBORAH LYNN POLLARD,
16   and ELO WILLIE WADLEY,
                                                       Date:       May 18, 2017
17                  Defendants.                        Time:       9:30 a.m.
                                                       Court:      Hon. Troy L. Nunley
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21
            This matter is presently set for an initial status conference on March 9, 2017. The case
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23   involves allegations of distribution of cocaine base stemming from an extensive investigation.

24   The investigation included, among other investigative tools, the use of confidential sources,
25   controlled purchases, and the use of a court-authorized wiretap. The government has recently
26
     provided voluminous discovery to defense counsel, including nearly 500 pages of investigative
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 1   reports and two discs of investigative materials. Defense counsel have recently started reviewing
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     this discovery as a prerequisite to conducting their own investigation regarding potential
 3
     defenses in the case.
 4
            The parties to this action, Plaintiff United States of America by and through Assistant
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 6   United States Attorney Jason Hitt and Attorney Olaf Hedberg on behalf of Defendant Curtis

 7   Phillips, Attorney Michael Long on behalf of Defendant Charles Ray Goodman, Attorney Toni
 8
     White on behalf of Defendant Deborah Lynn Pollard, and Attorney Todd Leras on behalf of
 9
     Defendant Elo Willie Wadley, stipulate as follows:
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            1.    By this stipulation, Defendants now move to vacate the initial status conference
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12                presently set for March 9, 2017. The parties request to continue the status conference

13                to May 18, 2017, at 9:30 a.m., and to exclude time between March 9, 2017 and May
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                  18, 2017 under Local Code T-4. The United States does not oppose this request.
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            2. Due to the volume of discovery in the case, including 500 pages of investigative
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                  reports and two discs containing additional materials, defense counsel for all
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18                defendants are engaged in ongoing review of the discovery and defense investigation

19                related to potential defenses in this matter. This investigation is necessary to ensure
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                  that potential defenses are explored and discussed with each defendant in the case.
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            3. All defense counsel represent and believe that failure to grant additional time as
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                  requested would deny each of them the reasonable time necessary for effective
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24                preparation, considering the exercise of due diligence.

25          4. Based on the above-stated facts, the parties jointly request that the Court find that the
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                  ends of justice served by continuing the case as requested outweigh the best interest
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              Case 2:17-cr-00023-DAD Document 42 Filed 03/08/17 Page 3 of 5


 1              of the public and the Defendants in a trial within the time prescribed by the Speedy
 2
                Trial Act.
 3
            5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 4
                seq., within which trial must commence, the time period of March 9, 2017 to May 18,
 5

 6              2017, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and (B)

 7              (iv) [Local Code T-4] because it results from a continuance granted by the Court at
 8
                Defendants’ request on the basis that the ends of justice served by taking such action
 9
                outweigh the best interest of the public and the Defendants in a speedy trial.
10
            6. Nothing in this stipulation and order shall preclude a finding that other provisions of
11

12              the Speedy Trial Act dictate that additional time periods are excludable from the

13              period within which a trial must commence.
14
            Assistant U.S. Attorneys Jason Hitt and/or Cameron Desmond and all defense counsel
15
     have reviewed this proposed order and authorized Todd Leras to sign it on their behalf.
16

17
     DATED: March 7, 2017
18                                                        By      Todd D. Leras for
                                                                  JASON HITT
19                                                                Assistant United States Attorney
20
     DATED: March 7, 2017
21                                                        By      /s/ Todd D. Leras for
                                                                  OLAF W. HEDBERG
22                                                                Attorney for Defendant
                                                                  CURTIS PHILLIPS
23

24   DATED: March 7, 2017
                                                          By      /s/ Todd D. Leras for
25                                                                MICHAEL D. LONG
                                                                  Attorney for Defendant
26
                                                                  CHARLES GOODMAN
27
     ORDER CONTINUING STATUS
28   CONFERENCE
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 1   DATED: March 7, 2017
                                             By    /s/ Todd D. Leras for
 2
                                                   TONI L. WHITE
 3                                                 Attorney for Defendant
                                                   DEBORAH POLLARD
 4
     DATED: March 7, 2017
 5
                                             By    /s/ Todd D. Leras
 6                                                 TODD D. LERAS
                                                   Attorney for Defendant
 7                                                 ELO WADLEY
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28   CONFERENCE
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 1                                                ORDER
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            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the initial status conference in this matter, scheduled for March 9, 2017, is
 4
     vacated. A new status conference is scheduled for May 18, 2017, at 9:30 a.m. The Court further
 5

 6   finds, based on the representations of the parties and Defendants’ request, that the ends of justice

 7   served by granting the continuance outweigh the best interests of the public and the defendants in
 8
     a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
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     consideration the exercise of due diligence for the period from March 9, 2017, up to and
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12   including May 18, 2017.

13

14
     DATED: March 7, 2017
15                                                              Troy L. Nunley
                                                                United States District Judge
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     ORDER CONTINUING STATUS
28   CONFERENCE
